                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                 Case No. 25-cv-10676-BEM

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.


 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR AN INDICATIVE
       RULING UNDER FEDERAL RULE OF CIVIL PROCEDURE 62.1
                                      TABLE OF CONTENTS

                                                                                                    Page

I.         INTRODUCTION…………………………………………………………….                                                      1

II.        LEGAL STANDARD…………………………………………………………                                                      3

III.       ARGUMENT………………………………………………………………….                                                        4

       A. Defendants’ Memo Does Not Eliminate the Basis for the TRO………………                            4

       B. The Memo Does Not Protect Plaintiffs or Individuals with Final Orders…….                   5

           1. The Law Requires Individualized Notice and a Meaningful Opportunity to
              Apply for Protection, which Only the TRO Provides……………………...                           5

           2. Blanket Diplomatic Assurances Do Not Safeguard Against Torture………                      7

               a. Blanket Assurances Do Not Protect Against Torture by State and                     7
                  Non-State Actors or Chain Refoulement……………………………....

               b. The Government Knows of—and Regularly Documents—Torture by
                  State and Non-State Actors in the Countries to Which it Likely Seeks
                  to Remove Individuals with Final Orders……………………………                                 8

               c. Diplomatic Assurances Must Be Individualized...................................   11

               d. Even Individualized Assurances Are Unreliable……………………...                          13

           3. The Screening Process Is Wholly Inadequate………………………………                                14

       C. Defendants’ Actions Underscore the Need to Keep the TRO in Place……….                      18

IV.        CONCLUSION………………………………………………………………...                                                    20




                                                    ii
                                    I.      INTRODUCTION

        This Court should deny Defendants’ Motion for an Indicative Ruling (Mot.), ECF 43,

because the memorandum issued late Sunday evening in response to this Court’s temporary

restraining order (TRO) and supporting memorandum, ECF 34 and 40, does not address, let

alone assuage, the concerns Plaintiffs raise. To the contrary, the Memorandum, entitled Guidance

Regarding Third Country Removals (Memo), ECF 43-1, significantly exacerbates them.

        The Memo lacks the protections provided by the TRO, including written notice to

individuals and counsel, the opportunity to submit an application under the Convention Against

Torture (CAT) to an immigration judge (IJ), and the ability to seek further review of the IJ’s

determination. ECF 34. The TRO is in keeping with the Immigration and Nationality Act (INA),

the Foreign Affairs Reform and Restructuring Act of 1998 (FARRA), implementing regulations,

and the Due Process Clause of the Fifth Amendment, all of which require these protections to

ensure that the Department of Homeland Security (DHS) does not remove noncitizens to

countries where they face persecution, torture, and/or death. In contrast, the Memo fails to

provide any meaningful or individualized notice or opportunity to apply for CAT protection and

thus violates these rights.

        The Memo provides no notice and no opportunity to apply for protection to noncitizens

whom DHS seeks to remove to a country that has provided generalized “diplomatic assurances.”

ECF 43-1 at 1-2. Such blanket diplomatic assurances do not safeguard against torture by state or

non-state actors or against chain refoulement, removal by the country providing the assurances to

the noncitizen’s country of origin, such as in Plaintiff O.C.G.’s case.

        All such blanket assurances fail to provide, among other things, the individualized fear

analysis required to comply with the statutory protections provided by FARRA and the INA.



                                                 1
Further, any diplomatic assurances ring especially hollow with respect to the countries to which

DHS reportedly is seeking to deport individuals with final removal orders. Country conditions

reports issued by the Department of State directly contradict any such diplomatic assurances,

documenting systemic human rights abuses committed by, or acquiesced to, by the governments

of these countries.

          For individuals whom DHS seeks to send to countries that have not provided diplomatic

assurances, the Memo instructs DHS officers only to “inform” them of removal to a third country

but fails to ensure meaningful notice—written notice to the individual and their counsel

sufficiently in advance of deportation—leaving serious questions as to its efficacy. In addition,

these individuals are subjected to a woefully inadequate screening procedure that erroneously

places the burden of manifesting fear on the noncitizen (allegedly in line with regulations that are

actively being challenged in separate litigation), fails to inform noncitizens of their rights,

applies an impermissible, heightened fear standard, and curtails administrative and judicial

review.

          Moreover, Defendants’ actions over the past week underscore the need to keep the TRO

in place (and convert it to a preliminary injunction). Defendants refuse to provide assurances that

Defendants are not violating the TRO or applying the new Memo while this Court and the First

Circuit review the pending motions before them. Defendants have engaged in actions

demonstrating a startling lack of accountability, including declaring in other litigation that they

have no authority to secure the release from a Salvadoran prison of at least one person whom

they acknowledge unlawfully deporting there.




                                                  2
                                  II.     LEGAL STANDARD

       Under Federal Rule of Civil Procedure 62.1, a district court may defer a ruling, deny the

motion, or state that it would grant the motion if the court of appeals remands for that purpose or

that the motion raises a substantial issue. Fed. R. Civ. P. 62.1(a). The court’s decision to make

such a ruling is discretionary. See, e.g., Jackson v. Allstate Ins. Co., 785 F.3d 1193, 1206 (8th

Cir. 2015); Dice Corp. v. Bold Techs., 556 F. App’x 378, 384 (6th Cir. 2014).

       When considering the motions merits, the Court should assess Defendants’ motion by

reference to the standard for dissolving a TRO. In the related context of preliminary injunctions,

the First Circuit has indicated that district courts should apply Rule 60(b)(1) or (b)(5) to assess

such a motion. The latter most clearly applies here and requires Defendants to show “it is no

longer equitable that the judgment should have prospective application, and that there has been

the kind of significant change in circumstances that the Rule requires.” Dr. Jose S. Belaval, Inc.

v. Perez-Perdomo, 465 F.3d 33, 38 (1st Cir. 2006) (quotation omitted); see also Concilio de

Salud Integral de Loiza, Inc. v. Perez-Perdomo, 551 F.3d 10, 16 (1st Cir. 2008) (noting that a

court should look to Rule 60(b)(5) in context of a motion to dissolve a preliminary injunction).

District courts have broad discretion when ruling on such motions, which allows them “to

forestall unwarranted attempts to alter [temporary] orders.” Sprint Commc’ns Co. L.P. v. CAT

Commc’ns Int’l, Inc., 335 F.3d 235, 242 (3d Cir. 2003) (cited favorably in Concilio de Salud,

551 F.3d at 15-16). Ultimately, Defendants must show that Plaintiffs are no longer likely to have

success on the merits or suffer irreparable harm. See Knapp Shoes, Inc. v. Sylvania Shoe Mfg.

Corp., 15 F.3d 1222, 1225 (1st Cir. 1994).




                                                  3
                                       III.   ARGUMENT

A.      Defendants’ Memo Does Not Eliminate the Basis for the TRO.

        The Memo does not come remotely close to ensuring the procedural protections this

Court found were required to “comport with due process.” ECF 40 at 4; ECF 34. Nor does the

Memo provide the procedural protections that the Solicitor General’s Office represented to the

U.S. Supreme Court Defendants must provide. See ECF 40 at 4-5 nn.8 & 10; see also ECF 1 at ¶

43. 1

        The TRO provides two sets of protection. First, it protects Plaintiffs D.V.D., M.M. and

E.F.D. against deportations to a third country without written notice to them and their

immigration counsel of the country and a meaningful opportunity to submit an application for

withholding of removal under 8 U.S.C. § 1231(b)(3) and/or protection under the Convention

Against Torture (CAT) to the immigration court (until a final agency decision, if such an

application is submitted). ECF 34 at 1-2. Defendants cannot dispute that the TRO’s application

to the named Plaintiffs includes protections under § 1231(b)(3) that are not addressed by the

Memo. Second, the TRO also protects all individuals subject to a final order of removal against

deportations to third countries unless DHS provides written notice to them and their immigration

counsel, if any, and a meaningful opportunity to submit an application for CAT protection to the

immigration court; if an application is filed, protection lasts until the agency makes a final




1
        Defendants claim that the “existing procedures” which the Solicitor General’s Office
assured the Supreme Court that DHS provides when it designates a new country apply only to
individuals in “ongoing proceedings.” Transcript of March 28, 2025 Hearing (Transcript), at 9-
11; see also ECF 43-1 at 1 n.2. But this Court has found that there is no “meaningful distinction”
between pending and post-final order proceedings, reasoning that the “[t]he introduction of a new
country of removal is, according to the government in Bondi v. Riley, what triggers the right to
receive notice and be heard.” ECF 40 at 4-5 n.8; see also id. at 5 n.10. Nothing in the Memo or
Defendants’ motion addresses, let alone undermines, the Court’s finding.
                                                  4
decision. Id. at 2.

        The Memo provides none of these protections, failing to fulfill Defendants’ legal

obligations to ensure that persons are not removed to a third country where they are likely to be

tortured or killed. The Memo does not require any notice —let alone individualized or written as

required by the TRO —to either the noncitizen or their counsel if the receiving country gives

generalized diplomatic assurances. See infra § III.B.1. And, absent diplomatic assurances, the

Memo requires only that the noncitizen be “inform[ed]” but does not explain when or how. ECF

43-1. The Memo does not afford a meaningful opportunity for a noncitizen to articulate a fear

claim, let alone submit an application for CAT protection to the immigration court as required by

the TRO; indeed, immigration officers will not even affirmatively ask about fear. See infra §§

III.B.1, 3. Finally, the Memo does not permit a stay pending review of an IJ’s decision by the

Board of Immigration Appeals (BIA), which the TRO provides. Nor does it provide any path to

judicial review. Instead, for those DHS seeks to deport to countries that have provided

diplomatic assurances, the Memo states that there is no “need for further procedures.” ECF 43-1

at 2. And for countries from which no diplomatic assurances have been obtained, the Memo

provides a screening mechanism with no procedural protections on an accelerated basis which

can only result in DHS, in its discretion, electing either to move to reopen “as appropriate” or to

designate another country.

        Because the Memo does not provide the protections required by law nor those

represented by the government to the Supreme Court, dissolution of the TRO is not warranted.

B.      The Memo Does Not Protect Plaintiffs or Individuals with Final Orders.

        1.     The Law Requires Individualized Notice and a Meaningful Opportunity to
               Apply for Protection, Which Only the TRO Provides.

        Instead of the TRO’s protections, i.e., written notice and a meaningful opportunity to

                                                 5
apply for protection, Defendants propose accepting generalized diplomatic assurances from

countries that claim they will not persecute or torture individuals removed to their territories.

ECF 43-1 at 1. Such blanket assurances fail to comply with Defendants’ obligations not to

remove noncitizens to any country where they would likely be tortured or killed.

       These protections are enshrined in statute, regulation, and treaty. See, e.g., Nasrallah v.

Barr, 590 U.S. 573, 580 (2020); FARRA, Pub. L. No. 105-277, Div. G, Title XXII, 112 Stat.

2681 (1998) (codified as Note to 8 U.S.C. § 1231). Moreover, Defendants must ensure that

noncitizens are not removed to any country where they are likely to be tortured. See, e.g., 8

C.F.R. § 1208.17(b)(2) (requiring IJs to inform an individual granted CAT deferral that they

“may be removed at any time to another country where he or she is not likely to be tortured”)

(emphasis added). 2

       But these rights are meaningless unless those who hold them receive meaningful notice

and an opportunity to present their claims for protection against torture. Meaningful notice and

an opportunity to be heard are the cornerstones of due process. See, e.g., Goldberg v. Kelly, 397

U.S. 254, 267 (1970) (holding that “[t]he fundamental requisite of due process of law is the

opportunity to be heard,” which includes “timely and adequate notice.”) (quotations omitted);

Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 313 (1950) (holding that due process

requires “at a minimum . . . that deprivation of life, liberty or property by adjudication be

preceded by notice and opportunity for hearing appropriate to the nature of the case”); Oakes v.

United States, 400 F.3d 92, 98 (1st Cir. 2005) (“The ubiquity of the ‘notice and opportunity to be




2
       Similarly, 8 U.S.C. § 1231(b)(3) expressly mandates that “the Attorney General may not
remove [a noncitizen] to a country if the Attorney General decides that the [noncitizen’s] life or
freedom would be threatened in that country . . . .” Likewise, 8 U.S.C. §§ 1231(b)(1) and (b)(2)
only permit removal to a designated country “subject to” the protection provided in § 1231(b)(3).
                                                  6
heard’ principle as a matter of fundamental fairness is deeply engrained in our jurisprudence.”).

Unsurprisingly, then, the CAT regulations implementing FARRA make clear that individualized

CAT protections are mandatory. See, e.g., 8 C.F.R. § 1208.16(c) (discussing IJs’ individualized

assessment of applicants’ CAT claims); 8 C.F.R. § 1208.17 (same, as well as individualized

notice to individuals with CAT protection).

       Defendants attempt to elude these obligations, claiming that any legal obligation to

provide individualized notice of a third country designation and an opportunity to be heard on a

fear claim in ongoing proceedings ceases after proceedings have concluded. Transcript at 9-11;

see also ECF 43-1 at 1 n.2. But this Court has already correctly rejected such dereliction of duty.

See ECF 40 at 4-5, n.8 & 10; cf. supra n.2. It is nonsensical for Defendants to acknowledge to

the Supreme Court that noncitizens in removal proceedings are entitled to meaningful notice and

an opportunity to submit applications for relief with respect to any third country, but then argue

here that, as long as Defendants wait until after immigration court hearings conclude to target

removal to a third country, they are relieved of the very same obligations.

        2.      Blanket Diplomatic Assurances Do Not Safeguard Against Torture.

               a.      Blanket Assurances Do Not Protect Against Torture by State and Non-
                       State Actors or Chain Refoulement.

       Blanket diplomatic assurances amount to a restatement by the receiving country of its

general obligations under international human rights law. They offer no protection against either

chain refoulement, whereby the third country proceeds to return an individual to their country of

origin, as Plaintiff O.C.G. experienced, or torture by state or non-state actors. Yet all these

abuses are contrary to the United States’ obligations under its statutes, regulations, and

international treaty obligations. See, e.g., supra § III.B.1 (discussing obligations under FARRA

and the laws governing withholding of removal). CAT protections apply to torture committed

                                                  7
directly by the state or by third parties “with the consent or acquiescence of[] a public official.” 8

C.F.R. § 1208.18(a)(1); see also Murillo Morocho v. Garland, 80 F.4th 61, 71 (1st Cir. 2023)

(vacating decision denying CAT protection where the BIA failed to properly consider risk of

torture by non-state actors). Chain refoulement similarly runs contrary to the United States’

obligation not to return individuals to countries where they are at substantial risk of torture. Cf.

UNHCR, Guidance Note on Bilateral and/or Multilateral Transfer Arrangements of Asylum-

Seekers ¶ 3(vi) (May 2013) (requiring protection against refoulement in transfer agreements

governing asylum seekers); accord United Nations Human Rights Committee, General Comment

No. 31 ¶ 12, 2004, The Nature of the General Legal Obligation Imposed on States Parties to the

International Covenant on Civil and Political Rights, CCPR/C/21/Rev.1/Add. 13 (May 26, 2004)

(explaining obligation against chain refoulement in ICCPR). No government, especially not

governments whose patterns of human rights violations the Department of State has documented,

can credibly provide such sweeping guarantees with respect to an entire class of persons of

unknown and varied circumstances and nationalities, and for an indefinite period of time.

               b.      The Government Knows of—and Regularly Documents—
                       Torture by State and Non-State Actors in the Countries to
                       Which it Likely Seeks to Remove Individuals with Final Orders.

       The flaws in Defendants’ diplomatic assurances proposal, and the need for individualized

assessments, are demonstrated by the government’s reports regarding the countries to which it

proposes removing putative class members. These countries include Mexico, El Salvador,

Honduras, Libya, Rwanda, and others. See Ortega Decl. ECF 31-1 ¶ 12 (identifying Mexico as

third country of removal for O.C.G.); Exh. A, (X Post by Secretary of State Marco Rubio) (after

issuance of this Court’s TRO, United States deported 17 individuals including non-Salvadorans

to El Salvador to be detained there); Exh. C (Decl. of Robert Cerna, J.G.G. v. Trump, No. 1-25-



                                                  8
cv-00766-JEB, ECF 28-1 ¶ 6 (D.D.C. Mar. 18, 2025)) (explaining that the government removed

a plane full of Venezuelans with final orders of removal to El Salvador); Alexander Ward et al.,

U.S. Looks for More Countries to Take Migrants, Wall Street J. (Apr. 1, 2025) (identifying

Honduras as a third country to which Defendants will soon begin removing people, and Mexico,

Libya, and Rwanda (among others) as potential options).

       This list of countries underscores why individualized CAT assessments are necessary and

why diplomatic assurances are insufficient. For example, in El Salvador—to which Defendants

are already removing non-Salvadorans—the Department of State recognizes the many reports of

“the [Salvadoran] government or its agents commit[ing] arbitrary or unlawful killings, largely

stemming from deaths of detainees while in prison, either from medical neglect or physical

abuse.” Exh. D at 1 (2023 El Salvador Human Rights Report). Notably, Defendants are deporting

people, including third-country nationals, to be detained in a prison system marked by “gross

overcrowding; inadequate sanitary conditions; insufficient food and water shortages; a lack of

medical services in prison facilities; and physical attacks.” Id. at 7. Even after this Court’s TRO,

Defendants are removing non-Salvadorans with final orders to El Salvador to be detained in the

country’s prison system, where it appears they will be detained indefinitely. Exh. A (Rubio X

Post); Exh. B (X Post by Salvadoran President Nayib Bukele).

       Conditions in other countries to which DHS is deporting people who are not their citizens

make blanket diplomatic assurances equally untenable. For example, in Mexico, where O.C.G.

was deported, the State Department notes “credible reports of: unlawful or arbitrary killings,

including extrajudicial killings; enforced disappearance; torture or cruel, inhuman, or degrading

treatment or punishment by security forces; harsh and life-threatening prison conditions;

arbitrary arrest or detention.” Exh. E at 1 (2023 Mexico Human Rights Report). The



                                                 9
Department’s Human Rights report explains that “[c]ivil society groups reported torture was a

generalized practice,” including by “municipal police, public security, and state attorney

general’s offices.” Id. at 8. Moreover, “[c]riminal elements, including local and transnational

gangs and narcotics traffickers, were significant perpetrators of violent crimes and committed

acts of homicide, torture, kidnapping, extortion, human trafficking, bribery, intimidation, and

other threats, resulting in high levels of violence and exploitation.” Id. at 2. The same report

documents “targeting and victimization of migrants and asylum seekers” in Mexico both by state

agents and by non-state armed actors. Id. at 26. The White House recently declared that in

certain parts of Mexico criminal cartels “function as quasi-governmental entities, controlling

nearly all aspects of society.” 90 Fed. Reg. 8439 (Jan. 20, 2025). This reality underscores that

even if a central government provides a generalized (and unenforceable) assurance as to its own

conduct, there are still serious issues as to whether the government acquiesces to other actors

who inflict torture. Honduras is the same. See Exh. F at 1, 4 (2023 Honduras Human Rights

Report) (detailing “credible reports of: arbitrary or unlawful killings; torture or cruel, inhuman or

degrading treatment or punishments by government agents; harsh and life-threatening prison

conditions; [and] arbitrary arrest or detention,” as well as “more than 100 cases of alleged torture

or cruel and inhuman treatment of detainees and prisoners by security forces”).

       Defendants’ proposal to remove people to Libya or Rwanda is equally shocking. The

Department of State’s most recent report for Libya notes “reasonable grounds to believe state

and nonstate actors committed crimes against humanity in Libya.” Exh. G at 1 (Libya 2023

Human Rights report) (emphasis added); id. at 2 (“Significant human rights issues included

credible reports of: arbitrary or unlawful killings, including extrajudicial killings; enforced

disappearance; torture or cruel, inhuman, or degrading treatment or punishment perpetrated by



                                                 10
the government and armed groups on all sides; harsh and life-threatening prison conditions”).

Migrants from other countries in Libya are particular targets for violence and other forms of

abuse by both state and non-state actors, including torture, disappearance, and sexual slavery. Id.

at 20, 33-38. As for Rwanda, there were “several reports the government committed arbitrary or

unlawful killings, including extrajudicial killings.” Exh. H at 2 (Rwanda 2023 Human Rights

Report). And Rwanda is currently engaged in an aggressive armed conflict against its neighbor,

the Democratic Republic of the Congo. See Elain Peltier, Despite Congo Offensive, Rwanda

Lures Athletes, Investors, and Tourists, N.Y. Times, Mar. 11, 2025.

               c.      Diplomatic Assurances Must Be Individualized.

       The Memo violates the implementing CAT regulations that require individualized

diplomatic assurances. See 8 C.F.R. § 1208.18(c). Indeed, the regulation makes clear this is an

extraordinary process, relating to a specific individual, where a select few high-level officers are

sufficiently involved to provide a diplomatic assurance in an individual case. The regulation

states that “[t]he Secretary of State may forward to the Attorney General assurances that the

Secretary has obtained from the government of a specific country that an alien would not be

tortured there if the alien were removed to that country.” Id. § 1208.18(c)(1) (emphasis added);

see also id. § 1208.18(c)(2), (c)(3) (referencing “the alien”). The references to a singular

individual (“an alien,” “the alien”) show that any diplomatic assurance must be specific to the

individual and cannot be a categorical diplomatic assurance, covering all individuals deported to

a particular country. See, e.g., Niz-Chavez v. Garland, 593 U.S. 155, 161 (2021) (examining the

“ordinary meaning” of statutory text and finding that “[t]o an ordinary reader—both in 1996 and

today—‘a’ notice would seem to suggest just that: ‘a’ single document”). The Memo provides

no such individualized assurance.



                                                 11
       Moreover, even if an individualized assurance is provided to a single individual in

accordance with § 1208.18(c)(1), the regulation further instructs that one of only three officials,

the Attorney General, Deputy Attorney General, or Commissioner of the Immigration and

Naturalization Service, 3 must independently “determine, in consultation with the Secretary of

State, whether the assurances are sufficiently reliable” to allow deportation consistent with CAT.

8 C.F.R. § 1208.18(c)(2). The Memo provides no such individualized determination. Finally,

though the regulation indicates that compliance with subsections (c)(1) and (c)(2) precludes

further consideration of a CAT claim by an IJ, the BIA, or an asylum officer, see 8 C.F.R. §

1208.18(c)(3), it does not limit or eliminate judicial review regarding any such CAT claim.

Indeed, a path to judicial review must be provided. See 8 U.S.C. § 1252(a)(4); see also

Nasrallah, 590 U.S. at 585 (“[Section] 1252(a)(4) now provides for direct review of CAT orders

in the courts of appeals.”). In contrast, the Memo forecloses all access to IJ, BIA, and judicial

review. ECF 43-1 at 2 (providing noncitizens “will be removed without the need for further

procedures”).

       The Department of Justice has recognized the importance of a case-by-case,

individualized process for seeking and assessing the reliability of diplomatic assurance

determinations. At a hearing before the Senate Judiciary Committee, in response to questioning

by then Senator Patrick Leahy, former U.S. Attorney General Alberto Gonzales testified:

       LEAHY: What do you think that the assurances we get from countries that
       are known to be torturers, when they say, “Well, we won’t torture this person
       you’re sending back” – do you really think those assurances are credible?
       GONZALES: I think, Senator, that’s a difficult question that requires,
       sort of, a case-by-case analysis.
       ....
       GONZALES: Well, again, Senator, we take this obligation very, very
       seriously. And we know what our legal obligations are. We know what


3
       This position no longer exists.
                                                 12
       the directive of the president is. And each case is very fact-specific.

Oversight of the USA PATRIOT Act: Hearing Before the S. Comm. on the Judiciary, 109th Cong.

10 (2005); see also Exh. I (Statement of John B. Bellinger, III, Legal Adviser, U.S. Dep’t of

State on June 10, 2008) (emphasizing need for direct engagement “with the receiving country

regarding the treatment that a particular individual will receive”) (emphasis added).

               d.     Even Individualized Assurances Are Unreliable.

       Diplomatic assurances, even in individualized cases, have proven unreliable in the

immigration context. In Aguasvivas v. Pompeo, the court cited to “critical analys[es] of how

often [] diplomatic assurances actually work to prevent torture.” 984 F.3d 1047, 1050 n.3 (1st

Cir. 2021) (citing Katherine R. Hawkins, The Promises of Torturers: Diplomatic Assurances and

the Legality of “Rendition”, 20 Geo. Immigr. L.J. 213 (2006)); Ass’n of the Bar of the City of

New York & Center for Human Rights and Global Justice, Torture by Proxy: International and

Domestic Law Applicable to “Extraordinary Renditions” (New York: ABCNY & NYU School

of Law, 2004). In another case, the Third Circuit held that due process requires that a noncitizen

facing termination of CAT protection based on alleged individualized diplomatic assurances

must receive notice and a full and fair hearing, including the opportunity to challenge the

reliability of those assurances. Khouzam v. Att’y Gen., 549 F.3d 235 (3d Cir. 2008). Khouzam,

an Egyptian citizen and Coptic Christian, challenged the termination of CAT protection to Egypt

based on Egypt’s assurances that he would not be tortured. Id. at 238. The court held that the

government’s failure to provide him with advance notice of the diplomatic assurances or any

opportunity to review and challenge them violated due process. Id. at 257. Specifically, the

federal defendants “failed to make any factfinding based on a record that was disclosed to

Khouzam,” “did not permit Khouzam to see the written diplomatic assurances,” and “provided



                                                 13
no information pertaining to [their] reasons for crediting those assurances.” Id. Further, the court

found that Khouzam had no opportunity to develop a record with his own evidence or make

arguments on his own behalf and that he was denied an individualized determination before a

neutral and impartial decisionmaker. Id. at 257, 258.

3.        The Screening Process Is Wholly Inadequate.

        Finally, even the fortunate few individuals informed of the country to which they will be

removed under the Memo will not receive a meaningful opportunity to seek fear-based

protection that comports with the due process requirements and the governing statutes and

regulations. As an initial matter, the Memo provides no assurance that notice will be provided in

writing, in a language the person understands, in a time or manner sufficient to assert a fear-

based claim, and no notice to counsel. Furthermore, requiring individuals to “affirmatively

state[] a fear of removal,” absent any indication that they have the right to seek protection from

fear, let alone when or how to do so, see ECF 43-1 at 2, functionally ensures that people will not

receive required protections against persecution and torture. Requiring individuals to meet a

“more likely than not” standard at the screening stage, see id., is similarly contrary to law as

addressed below. The screening is generally conducted within 24 hours of referral, id. at 2,

rendering it all but impossible for detained individuals to gather and present sufficient evidence

to satisfy this standard. 4

        Both the withholding of removal statute and FARRA were intended to bring U.S. law

“into conformity with its obligations” under international treaties. INS v. Stevic, 467 U.S. 407,



4
        The government appears to assume that a detainee will know on the spot whether he has
reason to fear persecution or torture in any particular country not his own. This is not always
true, particularly where the country in question is one where the detainee has never lived, or has
not lived in some time, or where the risk is that the third country will return him to his country of
origin where he has already established a risk of persecution or torture.
                                                 14
427 (1984); see also INS v. Cardoza-Fonseca, 480 U.S. 421, 440 n.25 (1987) (explaining

requirements of withholding of removal were enacted “in order to comply with” Article 33 of the

1951 United Nations Convention Related to the Status of Refugees); FARRA § 1242(b)

(explaining that the CAT regulations are “to implement the obligations of the United States

under Article 3 of [CAT],” subject to the provisos of the U.S. Senate during ratification). These

treaties require nations to use procedures that will identify individuals entitled to these

mandatory forms of protection, including making inquiries as to individuals’ need for

international protection, providing guidance regarding their rights, and affirmatively eliciting

relevant information. 5 Consistent with the international obligations they implement, both the

withholding statute and FARRA incorporate the requirement that Defendants inform individuals

of their rights and affirmatively ask about fear of persecution and torture prior to removal. See

Murray v. Schooner Charming Betsy, 6 U.S. (2 Cranch) 64, 118 (1804) (“[A]n act of Congress

ought never to be construed to violate the law of nations if any other possible construction

remains . . . .”); Garcia v. Sessions, 856 F.3d 27, 42 (1st Cir. 2017) (finding that the Charming

Betsy doctrine applies even to “non-self-executing” international obligations). The Memo does




5
        See, e.g., United Nations High Comm’r for Refugees (UNHCR), Key Legal
Considerations on Access to Territory for Persons in Need of International Protection in the
Context of the COVID-19 Response ¶¶ 3, 4 (Mar. 16, 2020),
https://www.refworld.org/policy/legalguidance/unhcr/2020/en/122898 (explaining that states
should “make independent inquiries as to the persons’ need for international
protection” and that individuals seeking protection “must have access to relevant
information in a language they understand and the ability to make a formal asylum claim with
the competent authority”); UNHCR, Handbook on Procedures and Criteria for Determining
Refugee Status ¶ 192 (reissued 2019), https://www.unhcr.org/us/media/handbook-procedures-
and-criteria-determining-refugee-status-under-1951-convention-and-1967 (explaining that
individuals seeking protection “should receive the necessary guidance as to the procedure to be
followed”); UNHCR, Asylum Processes (Fair and Efficient Asylum Procedures) ¶ 5, U.N. Doc.
EC/GC/01/12 (May 31, 2001), https://www.unhcr.org/us/media/asylum-processes-fair-and-
efficient-asylum-procedures (requiring “[f]air and efficient procedures”).
                                                 15
not do so.

       Defendants attempt to justify failing to provide individuals with information regarding

the opportunity to seek protection as “similar to” the screening mechanisms used in certain

recent expedited removal cases and in screening under Title 42 of the U.S. Code, see ECF 43 at 2

n.1, but fail to mention that those procedures are the subject of ongoing litigation and/or are

documented to prevent individuals from making fear-based claims. See, e.g., Las Americas

Immigrant Advocacy Ctr. v. DHS, No. 1:24-cv-1702 (D.D.C. filed Jun. 12, 2024); Center for

Gender & Refugee Studies, “Manifesting” Fear at the Border: Lessons from Title 42 Expulsions

2 (2024) 6 (reporting that, under the Title 42 process, immigration officers repeatedly refused to

refer even individuals who manifested a fear and instead verbally abused or ignored them).

Moreover, expulsions were based on Title 42, which DHS invoked to suspend entry of

individuals to prevent the spread of communicable diseases. Defendants have no such statutory

authority to permit them to deviate from their statutory, regulatory, and constitutional

obligations. Though Defendants assert that noncitizens are more likely to make false claims if

asked about their fear of return, ECF 43-1 at 2 (citing Securing the Border, 89 Fed. Reg. 48710,

48743 (June 7, 2024) and Securing the Border, 89 Fed. Reg. 81156, 81235 (Oct. 7, 2024)), the

cited records neither document evidence to support that assertion nor provide any indication that

insufficient claims would ultimately prevail. Cf. Zhang v. Holder, 585 F.3d 715, 724 (2d Cir.

2009) (recognizing that screening interviews are more reliable where an individual “is notified

prior to the interview that [i]t is very important that you tell the officer all the reasons why you

have concerns about being removed”) (quotation omitted; alteration in original).



6
       See https://cgrs.uclawsf.edu/our-
work/publications/%E2%80%9Cmanifesting%E2%80%9D-fear-border-lessons-title-42-
expulsions.
                                                  16
       Instead, the Memo fails to account for any of the practical realities of individuals with

fear of persecution or torture subject to immediate deportation: that noncitizens will have no idea

that they need to affirmatively state a fear to avoid removal, or how, when and to whom they

must make their fear claims. Indeed, they may not even be able to speak a language that officers

purporting to screen for fear will understand. Cf. Tang v. U.S. Att’y Gen., 578 F.3d 1270, 1279

(11th Cir. 2009) (citing cases recognizing that, in an interview setting, individuals are “not

represented by counsel and may be markedly intimidated by official questioning” and thus may

be likely to omit information regarding fear).

       These practical realities similarly demonstrate why applying a heightened “more likely

than not” standard in screening for withholding and CAT claims is insufficient. It would require

individuals in remotely conducted, rushed, and informal screenings before U.S. Citizenship and

Immigration Services (USCIS) that include no ability to seek administrative review and may not

permit access to attorneys or other assistance, see ECF 43-1 at 2, to meet the ultimate standard

for protection eligibility applied in full proceedings before an IJ. Notably, in 2022, Defendant

DHS itself recognized that there was “no evidence” that applying heightened screening standards

“resulted in more successful screening out of non-meritorious claims while ensuring the United

States complied with its nonrefoulement obligations.” Procedures for Credible Fear Screening

and Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by Asylum

Officers, 87 Fed. Reg. 18078, 18092 (Mar. 29, 2022). Critically, a noncitizen who does not pass

USCIS’s initial, rushed screening “will be removed” without the opportunity for judicial review

notwithstanding that Congress provided that “a petition for review filed with an appropriate court

of appeals in accordance with this section shall be the sole and exclusive means for judicial

review of any cause or claim under [CAT].” 8 U.S.C. § 1254(a)(4).



                                                 17
       DHS cannot functionally eliminate statutory entitlements to mandatory protection from

deportation by denying individuals the most basic procedures necessary to obtain them. See

Califano v. Yamasaki, 442 U.S. 682, 693 (1979) (“[T]his Court has been willing to assume a

congressional solicitude for fair procedure, absent explicit statutory language to the contrary.”);

Meachum v. Fano, 427 U.S. 215, 226 (1976) (recognizing that minimum due process rights

attach to statutory rights). Here, Defendants would render the right to seek withholding and CAT

protection meaningless by depriving individuals of any information about their ability to seek

such protection and requiring them to meet the final standard for eligibility in what purports to be

an initial, expedited screening interview.

C.     Defendants’ Recent Actions Underscore the Need to Keep the TRO in Place.

       Defendants’ recent actions (including their refusal to acknowledge conduct presumably

violating this Court’s order) and their unwillingness or inability to secure the release of an

individual they acknowledge the United States unlawfully removed to El Salvador only

underscore how inadequate the Memo is, why individual inquiries are necessary, and why

motions to reopen after someone is removed do not provide a meaningful remedy.

        On Monday, March 31, 2025, Secretary Rubio announced that the night before

Defendants had removed 17 noncitizens to El Salvador, including alleged members of the Tren

de Aragua gang (a Venezuelan gang). Exh. A (Rubio X Post). At 4:10 pm that day Plaintiffs’

counsel asked Defendants’ counsel to confirm that none of the individuals were covered by this

Court’s order, i.e., that none of them were nationals of a country other than El Salvador, with

final removal orders, who were now being removed to a third country (El Salvador). Exh. K at 1

(Counsel’s Emails). In addition, Plaintiffs’ counsel asked Defendants to confirm that no one was

currently being removed pursuant to the March 30, 2025 Memo. Id. Finally, counsel requested an



                                                 18
immediate meet and confer if any of the 17 deported individuals were covered by the order, or

any noncitizens were being subject to removal under the Memo. Counsel for Defendants

promptly responded that they would look into the matter. Id. at 2.

       After 24 hours passed with no response, in the evening of April 1, 2025, Plaintiffs’

counsel again reached out to Defendants’ counsel, and this time provided the name and

identifying immigration number of a Venezuelan man reported to have been removed to El

Salvador on the March 30 flight. Id. at 3. Plaintiffs’ counsel requested that Defendants’ counsel

advise whether the man’s removal violated the TRO and, if not, to communicate whether any of

the information provided was incorrect or there was any other basis for asserting the TRO was

not violated. Id. Plaintiffs’ counsel also reiterated that they were awaiting Defendants’ response

regarding the other 16 individuals deported on March 30, 2025, as well as confirmation that no

one was currently being removed pursuant to the Memo. Id.

       On April 2, 2025, approximately 24 hours later, Defendants’ counsel responded that they

“have no information to share at this time.” Id. at 4. Defendants thus have refused to address the

alleged violation of this Court’s order by removing this non-Salvadoran national with a final

order to El Salvador on the night of March 30, 2025, and possibly others, two days after this

Court’s order. They also refuse to state whether they are currently applying the Memo despite the

TRO, which provides additional protections.

       Nor would this be an isolated incident: in litigation pending before the District Court in

Washington, D.C., that court has remonstrated with Defendants for likely flouting a TRO by

removing alleged Venezuelan gang members absent completion of removal proceedings. J.G.G.

v. Trump, No. 25-cv-766, ECF 25 at 20-23 (D.D.C.) (Transcript of March 17, 2025 Hearing); id.

ECF 47 at 2 (order requiring additional evidence and briefing from defendants). Similarly, in a



                                                19
case involving a Salvadoran national who had been granted withholding of removal to El

Salvador, Defendants acknowledged this week that the individual had been unlawfully removed

to El Salvador. Exh. J (Defs’ Mem. of Law, Abrego Garcia v. Noem, No. 8:25-cv-00951-PX,

ECF 11 at 3 (D. Md. Mar. 31, 2025)). However, they then asserted that, despite their direct

involvement in his removal to El Salvador, they had no authority to demand his release from the

Salvadoran prison. Id. at 7. Even worse, Defendants attempted to minimize the harm from their

unlawful conduct, arguing that “there is no clear showing that Abrego Garcia himself is likely to

be tortured or killed in CECOT [the Salvadoran prison].” Id. at 14. Thus, even where Defendants

have engaged extensively in recent diplomatic negotiations to arrange for removals to, and

detention of noncitizens in, El Salvador, and even where Defendants admit that an individual was

wrongfully removed, they assert they cannot secure his release, dramatically illustrating the harm

that results from third country deportations without adequate protections.

       Finally, O.C.G., a citizen of Guatemala, testified in immigration court how he was raped

and held hostage in Mexico. ECF 8-4 ¶¶ 3, 6. Yet Defendants insist they had no obligation to

provide individuals in his situation with written notice or an opportunity to apply for protection

from torture. Transcript at 28-29; ECF 40 at 4. Indeed, under the Memo, as long as there is a

generic diplomatic assurance from a country that it will not engage in torture, persons such as

O.C.G. would not be entitled to any notice or process. See ECF 43-1 at 1-2. And even if there

were no diplomatic assurances, authorities would not be required to ask or document whether the

individual sought protection. See id. at 2 (“Immigration officers will not affirmatively ask

whether the [noncitizen] is afraid of being removed to that country.”); see also supra § III.B.3.

                                     IV.     CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motion.



                                                20
Respectfully submitted,

 s/Trina Realmuto
 Trina Realmuto*                                Matt Adams*
 Kristin Macleod-Ball*                          Leila Kang*
 Mary Kenney*                                   Aaron Korthuis*
 Tomás Arango                                   Glenda M. Aldana Madrid*
 NATIONAL IMMIGRATION                           NORTHWEST IMMIGRANT
    LITIGATION ALLIANCE                           RIGHTS PROJECT
 10 Griggs Terrace                              615 Second Avenue, Suite 400
 Brookline, MA, 02446                           Seattle, WA 98104
 (617) 819-4447                                 (206) 957-8611
 trina@immigrationlitigation.org                matt@nwirp.org

 Anwen Hughes*
 HUMAN RIGHTS FIRST
 75 Broad Street, 31st Floor
 New York, NY 10004
 (212) 845-5244
 HughesA@humanrightsfirst.org

                                      Attorneys for Plaintiffs

 * Admitted pro hac vice




                                  CERTIFICATE OF SERVICE
I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing (NEF).


                                                     s/ Trina Realmuto
                                                     Trina Realmuto
                                                     National Immigration Litigation Alliance


Dated: April 4, 2025




                                                21
